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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )                    Case No: 8:04CR316
                                 Plaintiff,      )
                   v.                            )                           ORDER
                                                 )
JAMES L. ASHBY,                                  )
                                                 )
                                 Defendant.


      The court has been presented a Financial Affidavit (CJA Form 23) signed by the above-
     named defendant in support of a request for appointed counsel. After a review of the
     Financial Affidavit, I find that the above-named defendant is eligible for appointment of
     counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal
     Justice Act Plan for the District of Nebraska.

      IT IS ORDERED:

       The Federal Public Defender for the District of Nebraska is appointed to represent the
     above named defendant in this matter. In the event that the Federal Public Defender
     accepts this appointment, the Federal Public Defender shall forthwith file an appearance
     in this matter. In the event the Federal Public Defender should decline this appointment
     for reason of conflict or on the basis of the Criminal Justice Act Plan, the Federal Public
     Defender shall forthwith provide the court with a draft appointment order (CJA Form 20)
     bearing the name and other identifying information of the CJA Panel attorney identified
     in accordance with the Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that counsel’s appointment herein is made pursuant to 18
     U.S.C. § 3006A(f). At the time of the entry of judgment herein, defendant shall file a
     current and complete financial statement to aid the court in determining whether any
     portion of counsel’s fees and expenses should be reimbursed by defendant.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
     Federal Public Defender for the District of Nebraska.

      DATED this 13th day of April, 2012.

                                               BY THE COURT:

                                               s/ Thomas D. Thalken
                                               United States Magistrate Judge
